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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                    CASE NO. 18-cr-80160-DIMITROULEAS/MATTHEWMAN

   UNITED STATES OF AMERICA

   V.
                                                                              MAY 19 2022
   CLAUDIA PATRICIA DIAZ GUILLEN,                                              ANGc:LA E. NOBLE
                                                                              CLERK U.S. DIST. CT.
                                                                              S.D . OF FLA. - W.P.B.
           Defendant.
   - - - - - - - - - - - - - - - - - - -I

   ORDER GRANTING JOINT MOTION FOR APPOINTMENT OF COUNSEL [DE 60]

           THIS CAUSE is before the Court pursuant to the parties ' Joint Motion for Appointment of

   Counsel ("Joint Motion") [DE 60]. Within the Joint Motion, counsel for The United States of

   America and Defendant Diaz Guillen jointly seek appointment of conflict-free criminal counsel for

   witness Gabriel Arturo Jimenez Aray, so that Mr. Jimenez Aray can consult with conflict-free

   criminal counsel prior to and during the Garcia hearing set in this criminal case on Tuesday, May

   24, 2022 . Accordingly, having reviewed the Joint Motion and being fully advised in the premises,

   it is hereby

           ORDERED that the parties' Joint Motion [DE 60] is GRANTED. Khurrum Wahid, Esq.,

   is hereby appointed as counsel for witness Gabriel Arturo Jimenez Aray pursuant to the Criminal

   Justice Act, to provide advice and consultation prior to and during the Garcia hearing set in this

   criminal case on Tuesday, May 24, 2022, and to represent Mr. Jimenez Array at that hearing

          DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County, in the

  Southern District of Florida, this 19th day of May, 2022.
